                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

Anthony Lee Pierce                               }   CASE NO. 11-83381-CRJ-13
Peggy Harbin Pierce                              }
                                                 }   CHAPTER 13
SSN: XXX-XX-3914, XXX-XX-6237                    }

                 TRUSTEE’S MOTION TO MODIFY CHAPTER 13 PLAN

       COMES NOW, Michael Ford, the Chapter 13 Trustee in the above styled case, and
moves this Court to modify Debtors’ Chapter 13 Plan confirmed on October 15, 2012, and as
grounds therefore, the Trustee would show unto the court as follows:

       1. The Debtors filed an Application to Employ special counsel, James H. Richardson,
       attorney at law practicing in Huntsville, Alabama on October 20, 2015. The Application
       was approved on November 25, 2015. Special counsel was employed to represent the
       interest of the Debtors in a claim for damages resulting from an automobile accident.

       2. Although the amount the Trustee would receive, if any, from the settlement is
       unknown, the Trustee desires that the plan be modified in order to provide that the
       proceeds of the claim, after deducting allowed exemptions, be paid to the Trustee for
       distribution to unsecured creditors, and that the base amount due under the plan be
       increased by the amount of money the Trustee receives from the claim. The Trustee
       further desires to clarify that the Trustee shall be allowed a fee on the claim proceeds the
       Trustee distributes.

        WHEREFORE, the Trustee prays that the Court modify the confirmed plan to provide
that the non-exempt proceeds of the claim for injuries be payable to the Trustee for distribution
to unsecured creditors, that the base due under the plan be increased by the amount the Trustee
receives, and that the Trustee be allowed to take a fee on the proceeds he distributes. The
Trustee prays for such other and different relief to which he may show himself entitled.

       RESPECTFULLY SUBMITTED, this the 27th day of July, 2016.


                                                     /S/ MICHAEL FORD
                                                     MICHAEL FORD
                                                     Chapter 13 Trustee
                                                     P.O. Box 2388
                                                     Decatur, AL 35602




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                                CERTIFICATE OF SERVICE


        I hereby certify that I have served a copy of the foregoing upon the persons or entities set
forth below by depositing same in the United States mail, postage prepaid, this 27th day of July,
2016.

Anthony Lee Pierce
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Bankruptcy Administrator
U.S. Courthouse & Post Office
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Decatur, AL 35602

and all persons and entities listed on the clerk's mailing matrix by depositing same in the United
States mail, postage prepaid, this 27th day of July, 2016.



                                                             /s/MICHAEL FORD
                                                             Michael Ford, Trustee




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